          Case 1:18-cr-00567-VSB Document 36 Filed 10/04/18 Page 1 of 2
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           Case 1:18-cr-00567-VSB Document 36-1 Filed 10/04/18 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                 Plaintiff,                             Case No. ! 8-cr-567 (VSB)

v.

CHRISTOPHER C. COLLINS, et al.

                 Defendants.



     DEFENDANT CHRISTOPHER COLLINS' WAIVER OF APPEARANCE FOR
                OCTOBER 11. 2018 STATUS CONFERENCE

         Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, Defendant Christopher

Collins waives his right to be present in open court for the October 11 , 2018 Status Conference.

         Rep. Collins requests that the Court proceed on October 11 , 2018 in his absence; agrees

that his interests will be deemed represented by the presence of his attorneys, the same as if he

were personally present; and further agrees to be present in Court ready for trial any date that the

Court sets in his absence.

         Rep. Collins further acknowledges that he has been informed of his rights under Title 18

U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorneys to set times and delays

under the Act without being personally present.

Dated:          Clarence, NY
                October_,  20 I 8
           Case 1:18-cr-00567-VSB Document 36-1 Filed 10/04/18 Page 2 of 2



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        Case 1:18-cr-00567-VSB Document 36-2 Filed 10/04/18 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

               - against -

CHRISTOPHER COLLINS,                                               18-CR-567 (VSB)
CAMERON COLLINS, and
STEPHEN ZARSKY,
                       Defendants.



       DEFENDANT CAMERON COLLINS’S WAIVER OF APPEARANCE FOR
                OCTOBER 11, 2018, STATUS CONFERENCE

       Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, Defendant Cameron

Collins waives his right to be present in open court for the October 11, 2018, status conference.

       Mr. Collins requests that the Court proceed on October 11, 2018, and agrees that his

interest will be deemed represented by the presence of his counsel, the same as if Mr. Collins

himself was personally appearing in court. Mr. Collins understands that he has a right to be

present for all court proceedings in this case, and he knowingly and voluntarily waives that right

for the October 11, 2018, status conference.

       Mr. Collins further acknowledges that he has been informed of his rights under Title 18

U.S.C. §§ 3161-3174 (Speedy Trial Act) and authorizes his attorneys to set times and delays

under the Act without being personally present.


              
Dated: ______________________
       Asbury Park, New Jersey
                                                     ______________________________
                                                     Cameron Collins
        Case 1:18-cr-00567-VSB Document 36-2 Filed 10/04/18 Page 2 of 2



I agree with and consent to my client’s waiver of appearance.


         Oct. 3, 2018
Dated: _____________________
       New York, New York

                                                    CROWELL & MORING LLP

                                                    By: _/s/ Rebecca  M. Ricigliano
                                                             _____________________________
                                                    Rebecca M. Ricigliano
                                                    590 Madison Avenue, 20th Floor
                                                    New York, New York 10022
                                                    Telephone: (212) 895-4268

                                                    Thomas A. Hanusik
                                                    Patrick S. Brown (Admitted Pro Hac Vice)
                                                    1001 Pennsylvania Avenue, NW
                                                    Washington, DC 20004
                                                    Telephone: (202) 624-2500

                                                    Attorneys for Cameron Collins




SO ORDERED:

Dated: _____________________
       New York, New York
                                                    ______________________________
                                                    Honorable Vernon S. Broderick
                                                    United States District Judge
         Case 1:18-cr-00567-VSB Document 36-3 Filed 10/04/18 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                  Plaintiff,                             Case No. 18-cr-567 (VSB)

 v.

 CHRISTOPHER C. COLLINS, et al.

                  Defendants.



           DEFENDANT STEPHEN ZARSKY'S WAIVER OF APPEARANCE FOR
                    OCtOBER 11, 2018 STATUS CONFERENCE

         Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, Defendant Stephen

Zarsky waives his right to be present in open court for the October 11, 2018 Status Conference.

         Mr. Zarsky requests that the Court proceed on October 11, 2018 in his absence; agrees

that his interests will be deemed represented by the presence of his attorneys, the same as ifhe

were personally present; and further agrees to be present in Court ready for trial any date that the

Court sets in his absence.

         Mr. Zarsky further acknowledges that he has been informed of his rights under Title 18

U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorneys to set times and delays

under the Act without being personally present.

Dated:           · Summit, NJ
                   October ~ ' 2018




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         Case 1:18-cr-00567-VSB Document 36-3 Filed 10/04/18 Page 2 of 2




I agree with and consent to my client's waiver of appearance.

Dated:           New York, NY
                 October 3, 2018            DUANE MORRIS LLP


                                            By:      /s/ Mauro M Wolfe
                                                     Mauro M. Wolfe
                                                     Amanda Bassen
                                                     1540 Broadway
                                                     New York, New York 10036
                                                     (212) 692-1000
                                                     Attorneys for Defendant Stephen Zarsky




SO ORDERED:

Dated:           New York, New York
                 October_, 2018
                                                     VERNON S. BRODERICK, U.S.D.J.




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